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 8                                     UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    DELON BAPTISTE WARD,                              No. 2:23-cv-1992-EFB (PC)
12                        Plaintiff,
13            v.                                        ORDER
14    A. LARIOS,
15                        Defendant.
16

17           Plaintiff is a state prisoner proceeding without counsel in an action brought under 42

18   U.S.C. § 1983. He alleges claims that arose in Corcoran, California, which is in Kings County.

19   See ECF No. 1. Kings County is in the Fresno Division of the United States District Court for the

20   Eastern District of California, and this action should have been commenced there. E.D. Cal.

21   Local Rule 120(d). Where a civil action has not been commenced in the proper division of a

22   court, the court may, on its own motion, transfer the action to the proper division. E.D. Cal.

23   Local Rule 120(f).

24           Accordingly, it is hereby ordered that:

25           1. This action is transferred to the Fresno Division.

26           2. The Clerk of Court shall assign a new case number.

27   /////

28   /////
                                                        1
        Case 1:23-cv-01509-BAM Document 6 Filed 10/23/23 Page 2 of 2


 1         3. All future filings shall bear the new case number and shall be filed at:
 2                        United States District Court
                          Eastern District of California
 3                        2500 Tulare Street
 4                        Fresno, CA 93721

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     Dated: October 23, 2023
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